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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


KATHY RODGERS                               :
                                            :
                 Plaintiff,                 :
                                            :
         vs.                                : Case No. 1:19-cv-01431-TCB-JCF
                                            :
UNIFUND CCR, LLC, et al.,                   :
                                            :
                 Defendants.                :

              DEFENDANTS' REPLY IN SUPPORT OF MOTION TO FILE
                   SETTLEMENT AGREEMENT UNDER SEAL
          Defendants Unifund CCR LLC ("Unifund") and Lazega & Johanson LLC

("Lazega"), by and through their undersigned counsel, hereby file this reply in

support of their Motion to File Settlement Agreement Under Seal, (Doc. 27), stating

as follows:

                                     I. ARGUMENT
          A.      The Motion to Seal Should Be Granted, as It Was Filed Upon
                  Plaintiff's Request and Plaintiff Stated She Would Not Oppose It.
          After the parties reached a settlement of Plaintiff's two parallel lawsuits

against Defendants in this Court, cases no. 1:19-cv-1431 and 1:19-cv-1432,

Plaintiff's counsel refused to move forward with the settlement for the specific

reason that he would not settle the case if Unifund was going to comply with its


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obligations under federal tax law resulting from the settlement and file Form 1099-

C. Plaintiff in fact represented to the Court in her Motion to Reopen the case that

this was the very basis (and the only basis) for the settlement dispute. (See Doc. 17.)

          Plaintiff never stated, either in the Motion to Reopen or in communications to

Defendants' counsel, that the parties had not reached an agreement as to the

settlement amount.1 Indeed, it is clear from Plaintiff's Motion to Reopen, and her

own expressed desire therein to potentially move to enforce the settlement, that the

dispute did not concern whether or not a settlement had been reached. Instead, the

parties disagreed on what the terms of the settlement meant. (See Doc. 17 at 2

(discussing Plaintiff's view of the meaning of the mutual release); Doc. 17 at 3

(alleging that Unifund "insists on taking a position inconsistent with both the spirit

and the meaning of the terms of the settlement in this case") (emphasis added).

          Accordingly, when Defendants moved to enforce the settlement agreement

(the "Motion to Enforce") (Doc. 27), they redacted any reference to the confidential



          1
        It was only after Unifund confirmed to Plaintiff that it was required by
federal law to file Form 1099-C—and after Plaintiff's counsel had approved the
settlement agreement and the settlement payment noted therein—that Plaintiff's
counsel demanded that the settlement terms and payment amount be changed. (See
Doc. 21-10 at 3 (e-mail from Plaintiff's counsel noting, "If Unifund insists it will not
abide by the terms of the settlement agreement [by filing Form 1099-C], . . . Ms.
Rodgers may be willing to address this by an increase in the settlement amount.").


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settlement amount since it was not at issue. By redacting this amount and filing the

rest of the document publicly, Defendants complied with the Court's stated

preference for redacting portions of publicly filed documents when possible, rather

than sealing entire documents.2 After Defendants filed the Motion to Enforce,

however, Plaintiff's counsel demanded that Defendants file an unredacted version of

the settlement agreement disclosing the settlement amount under seal, or else he

threatened to file an unredacted version publicly. (See Doc. 27-1 at 1; Doc. 27-3 at

1; Doc. 27-5 at 1.) He further stated that he would not oppose Defendants' efforts

to file the agreement under seal. (Doc. 27-1 at 1; Doc. 27-3 at 1.) Plaintiff's counsel

refused to respond to Defendants' request for an explanation as to why the agreement

needed to be filed under seal, since the settlement amount was not in dispute. (Doc.

27-6; Doc. 27-7.)




          2
            See      Instructions       of     Judge      Batten,       available      at
http://www.gand.uscourts.gov/sites/default/files/TCB_Instructions.pdf,          p.    14
(noting that "[t]he Court eschews the excessive use of consent protective
confidentiality orders . . . " and that the Court is "not hesitant" to sanction a party
for over-use of confidentiality designations); Standing Order of Judge Totenberg,
available             at             http://www.gand.uscourts.gov/sites/default/files/
at_case_guidelines.pdf, p. 24 (noting that "If a document contains some discrete
material that is deemed confidential . . . , the Parties will be entitled to redact only
those portions of the document deemed confidential").




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          Nonetheless, in order to avoid Plaintiff following through on her threats of

unredacted filings of the confidential payment term, Defendants complied with

Plaintiff's demands by moving to seal the unredacted settlement agreement.

Plaintiff now opposes the very thing she demanded and promised not to oppose.

Plaintiff's Response completely fails to address or explain this change of position.

Plaintiff's opposition to the Motion to Seal, along with her backtracking on

settlement, is a waste of the Court's and Defendants' time and resources. Defendants'

Motion to Seal should be granted for the fundamental reason that Plaintiff's counsel

himself requested that it be sealed and represented in writing he would not oppose

it, as shown in the e-mails attached to Defendants' Motion to Seal. Any argument to

the contrary is simply an attempt to unduly prolong and delay the resolution of this

case by distracting the Court from what Plaintiff originally represented to be the only

item in dispute: whether the settlement agreed to by Plaintiff precludes Unifund from

filing Form 1099-C. For this most basic reason, the Motion to Seal should be

granted.

          B.      Plaintiff Provides No Valid Basis for Publicly Disclosing the
                  Settlement Amount.
          In her opposition to Defendants' Motion to Seal the Settlement Agreement,

Plaintiff fails to provide any legitimate basis for denying confidential status to the

settlement amount—the only term of the settlement agreement that has not already

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been publicly filed and which Defendants seek to keep confidential. Plaintiff does

not suggest that there is even the slightest public interest in the settlement amount

being publicly disclosed. Indeed, there is not. And any public interest in the

settlement should be satisfied by the fact that the vast majority of the settlement

agreement has been publicly filed.

              Because none of the positions raised in Plaintiff's Response to the Motion to

Seal have merit, for the reasons explained below, Defendant's Motion to Seal is due

to be granted so as to protect the confidentiality of the payment term. See Local

Access, LLC v. Peerless Network, Inc., No. 6:14–cv–399-Orl-40-TBS, 2017 WL

2212786, at *2 (M.D. Fla. May 17, 2017) (granting motion to seal filings containing

the substance of settlement negotiations, noting that the information sought to be

sealed is not related to public officials or public concerns); Reid v. Viacom Internat'l

Inc., No. 1:14-cv-1252-MHC, 2016 WL 4157208, at *5 (N.D. Ga. Jan. 25, 2016)

(granting motion to seal deposition testimony that referenced confidential settlement

agreement); Lee v. Ocwen Loan Servicing, LLC, No. 1:14-cv-99-TCB-LTW, 2014

WL 12546415, at *1 (N.D. Ga. June 17, 2014) (granting motion to seal settlement

agreement, noting the parties' intent to keep the document confidential and the

"strong societal interest in giving the parties an opportunity to settle their disputes in

private").


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                  1.    Defendants Did Not Move to File the Settlement Agreement
                        Under Seal with Their Motion to Enforce Because There Was
                        No Reason to Do So.
          Plaintiff contends that Defendants should have moved to file the Settlement

Agreement under seal at the time they filed the Motion to Enforce or should have

requested that their Motion to Seal "relate back" to their Motion to Enforce.

However, based on Plaintiff's representations to Defendants and to the Court, there

was no reason for Defendants to think the settlement amount was pertinent to the

settlement dispute at the time the Motion to Enforce was filed—and there still is not.

Therefore, as explained in Defendants' Motion to Seal, Defendants filed the

settlement agreement and settlement communications with the settlement amount

redacted in order to protect its confidentiality.

          Because the settlement amount was not at issue, and to avoid unnecessary

motion practice with a motion to seal, Defendants simply redacted the payment term.

Given the context of the surrounding text, the provision containing the redacted

payment term says nothing about whether Unifund is precluded from filing Form

1099. Defendants explained their actions to the Court and stated their willingness

"to provide the unredacted agreement for the Court's review should the Court find it

necessary." (Doc. 21 at 4, n. 1.) Defendants maintain that the settlement amount

has not been put at issue, and is not necessary for the resolution of their Motion to



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Enforce unless and until Plaintiff comes forward with evidence that she has not

agreed to the settlement amount stated in the settlement agreement (which Plaintiff

has not done).3 Again, Defendants only filed the Motion to Seal to avoid Plaintiff's

threats to file the settlement amount publicly. For this reason, Defendants did not

seek to have the sealed documents "relate back" to their original filing. However,

should the Court find the settlement amount necessary for purposes of the Motion to

Enforce, Defendants request that the Court either review the provisionally sealed

filing or allow the document to be filed under seal, rather than require that the

settlement amount be disclosed publicly.

                  2.    Defendants Have Not Waived Confidentiality of the
                        Settlement Amount.
          Plaintiff next argues that Defendants somehow waived the confidentiality of

the entire settlement agreement by "cherry-pick[ing] the portions of the settlement

agreement they wished to make public, and redact[ing] the portions they wished to



          3
         Plaintiff notes that the settlement amount is relevant because the Court must
have access to the "essential terms of the alleged contract, including the settlement
amount." (Doc. 30 at 4.) Again, Defendants' Motion to Enforce states their
willingness to provide the unredacted document to the Court if it became necessary,
but at the time the Motion to Enforce was filed, Plaintiff had made clear that the
settlement amount was not in dispute. Regardless, granting Defendants' request to
file the agreement under seal will allow the Court to review the agreement in its
entirety.


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keep confidential." (Doc. 30 at 2.) Plaintiff's argument is nonsensical. Nothing in

the settlement agreement states that if one clause of the agreement is disclosed,

confidentiality is waived as to the entire agreement. Defendants understand that

filing a document publicly generally waives any claim of confidentiality to any

disclosed terms. The Settlement Agreement itself states that the confidentiality

provision does not apply to "any action to enforce this Settlement Agreement."4

(Doc. 21-3 ¶ 10.) However, nothing prevents Defendants from redacting terms they

do not wish to disclose, and which were not necessary to the Motion to Enforce.

          Indeed, it is commonplace for a document to be filed publicly with only

portions redacted, where the confidentiality of those portions is sought to be

maintained and irrelevant to the disposition of the filing. Redaction is a well-

recognized mechanism for maintaining the confidentiality of private information in

court filings. See, e.g., Glaster v. ELCO Landmark Residential Management, LLC,

No. 2:14–cv–00245–MHH, 2015 WL 1530637 (N.D. Ala. Apr. 6, 2015) ("[T]he

parties asked for permission to redact the settlement amounts from the settlement

agreements . . . Because the Court is satisfied the settlement agreements are fair and


          4
        For this reason, Plaintiff's suggestion that Defendants somehow "breached"
the confidentiality provision by filing the document with their Motion to Enforce is
unfounded. Likewise, for this same reason, Defendants did not need Plaintiff's
permission to file the agreement, as Plaintiff suggests.


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reasonable resolutions of bona fide disputes, the Court allowed the parties to file the

agreements with the dollar amounts and other personal information redacted."); Nat'l

Union Fire Ins. Co. of Pittsburgh, PA v. EPT Management Co., No. 1:06-cv-024-

CAP, 2007 WL 9701932, at *3 (N.D. Ga. Jan. 12, 2007) ("National Union may

redact the identities of the insured claimants to protect their confidentiality."). And

as noted, redacting documents rather than sealing them is also the Court's stated

preference. See supra, fn. 2.

          Plaintiff's contention that Defendants somehow waived the confidentiality of

the settlement payment amount by taking measures to protect its confidentiality

simply does not make sense. Defendants not only redacted the settlement amount

from the settlement agreement and all settlement correspondence attached to the

Motion to Enforce, but also reiterated in their Motion to Enforce that the settlement

amount is considered "highly confidential," thus negating any express or implied

waiver of confidentiality as to that term. (Doc. 27 at 2.) See Wiggins v. State, 782

S.E.2d 31, 34 (Ga. 2016) (waiver is "an intentional relinquishment or abandonment

of a known right"). Plaintiff provides no authority for her argument that disclosure

of part of a confidential document waives confidentiality as to the entire document.

Rather than "cherry-picking" confidentiality, as Plaintiff characterizes Defendants'

actions, Defendants have simply disclosed enough of the agreement as was


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necessary for the Court to review their Motion to Enforce, nothing more.5

Accordingly, Defendants have not waived confidentiality of the settlement amount.

                   3.    Sealing the Settlement Agreement In No Way Burdens
                         Plaintiff.
          Finally, Plaintiff contends that the Motion to Seal and Defendants' request for

a protective order should be denied because granting it will "burden Plaintiff and her

counsel with significant redaction requirements." (Doc. 30 at 4.) The Court has

already ruled on this aspect of Defendants' Motion by ordering that Plaintiff is

prohibited from filing any reference to the settlement amount except under seal.

(Doc. 29 at 4.) The Court has also directly addressed Plaintiff's concern about

complying with redaction requirements by stating that Plaintiff may simply

provisionally file her response brief under seal. (Docket entry, Sept. 25, 2019).

          Defendants disagree that redacting one word (a settlement figure) from e-

mails or briefs is an onerous requirement. However, if anything, any such burden

only weighs in favor of sealing the Settlement Agreement and any related

correspondence, as filing a document under seal shields the entire document from

public view, and does not require redactions. Plaintiff may also cite to the Settlement


          5
          If Plaintiff is suggesting that the redacted versions of the settlement
agreement should be withdrawn from the public record and the sealed versions filed
in their place, Defendants have no opposition to that.


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Agreement filed by Defendants under seal. In fact, Defendants moved to file the

settlement agreement under seal precisely so that Plaintiff could rely on it in her

response to the Motion to Enforce and avoid Plaintiff's counsel filing his own

unredacted versions, as he threatened to do. Therefore, any alleged burden on

Plaintiff does not give cause to deny the Motion to Seal, but rather supports granting

it.

                                    II. CONCLUSION
          For the reasons stated herein, Defendants respectfully request that the Court

grant their Motion to Seal, and seal the unredacted versions of the settlement

agreement.

          Respectfully submitted this 18th day of October, 2019.


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                             CERTIFICATE OF COMPLIANCE
          Pursuant to Local R. 7.1(D), this is to certify that the foregoing complies with

the font and point setting approved by the Court in Local R. 5.1(B). The foregoing

document was prepared on a computer, using Times New Roman 14-point font.

                                           s/ Rachel R. Friedman
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                               CERTIFICATE OF SERVICE
              On October 18, 2019, I electronically filed the foregoing through the

CM/ECF system, which will provide electronic notice to the following:


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